Case 1:04-cv-01291-.]DT-STA Document 16 Filed 06/22/05 Page 10t2 P |D 19

95 jr ’\ ‘_ '

in THE uNiTED sTA'rEs DisTRiCT coURT '~ <.y;;,
FoR THE WESTERN DISTRiCT oF TENNESSEE __ ._,,;,` _ C_ ‘ 31
EASTERN DivisioN t

 

 

, /`j"d:;j , /(9
.MO[,? 01 /V: .§,::
./ . '\/‘/
LINDA WHITE, ) °"YLQ!: §
) VL/,"'£; z
Piaimiff, )
)
)
v. ) CIVIL ACTION No. l-04-l 29l T/An
)
)
UNUM PROVIDENT )
)
Defendant. )

 

[FRQBBS'F:B]~ORDER GRANTING JOINT MOTION FOR MODIFICATION
OF MAY 25, 2005 CASE MANAGEMENT ORDER

 

lt appearing to the Court that the parties' Joint Motion for Modiflcation of l\/lay 25, 2005
Case l\/lanagement Order should be granted; v d

lT lS, THEREFORE, ORDERED that this Court's May 25, 2005 Case Mana§gment
Order governing this ERlSA case shall be modified as Follows:

4. Defendant shall file and solve the administrative record to the Court and

Plaintiff's counsel no later than June 20, 2005.

Date: QZM€ zz} ?DO&/
y <S./l_}imnn.s @~_

By: United States Magistrate Judge

 

This document entered on the docket sheet in compliance
with ama se and/orie (a) FHCP on 5

M BCI 385748 vl
3790885¢000047 00/14/`05

r`) sATES DISTRICT OURT WESTENR D"ISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 1:04-CV-01291 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

Leigh McDaniel Chiles

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ- Memphis
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

S. Russell Headrick

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ- Memphis
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

.lustin Gilbert

THE GILBERT LAW FIRM
2021 Greystone Park
.lacl<son7 TN 38308

Honorable .l ames Todd
US DISTRICT COURT

